                  UNITED  STATES COURT
                   Case: 24-2544       OF9APPEALS
                                 Document:   Page: 1FORDate
                                                       THEFiled:
                                                            THIRD  CIRCUIT
                                                                 09/09/2024

                                               No.

                                                         vs.

                                            ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:



Indicate the party’s role IN THIS COURT (check only one):

        ____ Petitioner(s)              ✓ Appellant(s)
                                       ____                           ____ Intervenor(s)

        ____ Respondent(s)             ____ Appellee(s)               ____ Amicus Curiae

(Type or Print) Counsel’s Name ________________________________________________________________
                                  ____ Mr.    ____
                                                ✓ Ms.     ____ Mrs. ____ Miss ____ Mx.

Firm

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COUNSEL WHO FAIL TO FILE AN ENTRY OF APPEARANCE WILL NOT BE ENTITLED TO RECEIVE
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PROPERLY COMPLETED APPLICATION FOR ADMISSION MAY FILE AN APPEARANCE FORM.

A non-government attorney who is not currently in active status will be required to file the Attorney
Admission Renewal /Adjustment of Status Form in order to proceed with the case. Bar admission is
waived for Federal and Virgin Island government attorneys.

REV.
